                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

RAFAEL X. ZAHRALDDIN                           :
And SHELLEY A. KINSELLA                        :
                                               :    C.A. No. 22-cv-00412-CFC
                           Plaintiff,          :
                                               :
         v.                                    :
                                               :
Elliott Greenleaf, P.C.                        :
                                               :
                           Defendant.          :

    [PROPOSED] ORDER FOR REMAND AND ATTORNEYS FEES AND
                 COSTS UNDER 28 U.S.C. §1447(C)

         AND NOW, this _____ day of April 2022, after considering Plaintiffs’ Motion

For Remand Action to Delaware Court of Chancery and For Fees Under 28 U.S.C.

§1447(C) (“Plaintiffs’ Motion”), and any response thereto,

         IT IS HEREBY ORDERED that Plaintiffs’ Motion is GRANTED and fees

and costs will be awarded to the Plaintiffs.




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                                               Chief Judge Colm F. Connolly




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